 

Case 2:19-cv-00174-CCW Document 120 Filed 10/01/21 Page 1of1

AO 450 (Rev. 11/11) Judgment in a Civil Action

UNITED STATES DISTRICT COURT

for the

Western District of Pennsylvania

 

 

 

 

ROBERT J. TURCO )
Plaintiff )

V. ) Civil Action No. 2:19-cv-00174-CCW
ZAMBELLI FIREWORKS MANUFACTURING CO. )
Defendant )

JUDGMENT IN A CIVIL ACTION

The court has ordered that (check one):

 

 

 

 

WM the plaintiff (name) ROBERT J. TURCO “recover from the
defendant (name) ZAMBELLI FIREWORKS MANUFACTURING CO. the amount of
Fifteen Thousand dollars ($§ 15,000.00 ), which includes prejudgment
interest at the rate of %, plus post judgment interest at the rate of % per annum, along with costs.

1 the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
recover costs from the plaintiff (name)

 

 

 

C] other:

This action was (check one):

ov tried by a jury with Judge Christy Criswell Wiegand presiding, and the jury has
rendered a verdict.

CI tried by Judge without a jury and the above decision
was reached.

 

C1 decided by Judge on a motion for

Date: — 10/1/2021 CLERK OF COURT

/s/ Joungsun Miller
Signature of Clerk or Deputy Clerk

 
